187 F.2d 233
    COMMISSIONER OF INTERNAL REVENUEv.NIELSON et al.COMMISSIONER OF INTERNAL REVENUEv.ENERSEN et al.
    No. 12609.
    No. 12610.
    United States Court of Appeals Ninth Circuit.
    February 7, 1951.
    
      Theron Lamar Caudle, Asst. Atty. Gen., Ellis N. Slack, Harry Marselli and Louise Foster, Sp. Assts. to Atty. Gen., for petitioner.
      Harry R. Horrow, Joseph L. Seligman, Jr., San Francisco, Cal. (Pillsbury, Madison &amp; Sutro, San Francisco, Cal., of counsel), for respondents Nielson.
      Henry D. Costigan, Stanley Morrison, Gordon M. Weber, San Francisco, Cal. (McCutchen, Thomas, Matthew, Griffiths &amp; Greene, San Francisco, Cal., of counsel), for respondents Enersen.
      Before HEALY and BONE, Circuit Judges, and GOODMAN, District Judge.
      PER CURIAM.
    
    
      1
      These cases are here on petitions to review decisions of the Tax Court. They are concerned with the construction of § 107(a) of the Internal Revenue Code, 26 U.S.C.A. The question in each case is whether the taxpayer, a member of a law partnership, is entitled to the benefits of § 107(a) with respect to his share of fees received by the partnership for services rendered by it during a period which began prior to the taxpayer's admission to the firm, he having become a partner less than 36 calendar months prior to the receipt of such fees.
    
    
      2
      The Tax Court decided that the taxpayer in each case is entitled to the full benefits of the section, reaching its conclusion on the authority of the cognate case of Marshall v. Commissioner, 14 T.C. 90, since affirmed by the third circuit, Commissioner v. Marshall, 185 F.2d 674. We are satisfied that the Tax Court has correctly construed the statute and see no need for adding anything to what it has said.
    
    
      3
      The decisions are accordingly affirmed.
    
    